           Case 1:12-cv-00862-LY Document 197 Filed 07/30/21 Page 1 of 4




                            THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UNITED STATES COMMODITY                           §
FUTURES TRADING COMMISSION,                       §
                                                  §
                    Plaintiff,                    §
                                                  §
v.                                                §          Civil Action No. A-12-CV-0862-LY
                                                  §
SENEN POUSA, INVESTMENT                           §
INTELLIGENCE CORPORATION,                         §
DBA PROPHETMAX MANAGED FX,                        §
JOEL FRIANT, MICHAEL DILLARD, and                 §
ELEVATION GROUP, INC.,                            §
                                                  §
                    Defendants.                   §

                                 RECEIVER’S STATUS UPDATE

       Comes now, Guy M. Hohmann, the Court-appointed Receiver in the above-referenced

ProphetMax Receivership matter and the ancillary IB Capital matter and files this his Status

Update.

                   Riknik & Sons Ltd (“Riknik”) USD $7.2 million judgment

          The Receiver has recently learned that it will be necessary to reinstate Riknik’s forfeited

charter, so that Riknik can formally receive notice of the Receiver’s request to execute on the

judgment from the Slovakian court. Once that notice is provided, the time to object to execution

will run, and the account will be released to the Receiver. Accordingly, the service papers have

been forwarded pursuant to the Hague Convention to the Supreme Court in Seychelles. The

Receiver is presently in consultation with a potential corporate services provider to handle the

reinstatement.
          Case 1:12-cv-00862-LY Document 197 Filed 07/30/21 Page 2 of 4




               Assignments from Neotex Advanced, Ltd. and Essadia Moutaouakkil

        As noted in previous reports, counsel for Banque Populaire outlined a process for

repatriating the approximate USD $4.5 million which is on deposit in Morocco. The first step in

the process is to have the assignment agreements re-executed in the Moroccan Consulate (in the

case of Essadia Moutaouakkil in Lile, France and in the case of the Receiver in New York). In

addition, Banque Populaire’s counsel has requested that Ms. Moutaouakkil execute a document

stating that she will not appeal or otherwise challenge the judgment that has been entered against

her. The papers have been forwarded to Ms. Moutaouakkil’s counsel, who has duly sent them on

to her. Once the documents are fully executed, they will be presented to Banque Populaire and

the Receiver will coordinate recognition of the documents by the bank and local authorities. The

Dutch Public Prosecutor’s Office, which obtained the original freeze order, has promised to

support the Receiver’s request.

                       Settlement Discussions with Rabiaa Moutaouakkil

        The Receiver was recently informed by the Dutch Public Prosecutor’s Office that Ms.

Moutaouakkil was interested in assigning approximately USD $325,000 in a Moroccan bank

account to the receivership estate. In addition, Ms. Moutaouakkil is also willing to convey title to

the Receiver for (5) five different tracts of land located in Morocco. Two of the tracts have

houses on them. The Receiver is in the process of retaining a Moroccan real estate broker to sell

the real estate. In addition, the Receiver is also preparing assignment documents for Ms.

Moutaouakkil’s execution as well as a document stating she will not be appealing the judgment

against her.




                                                 2
          Case 1:12-cv-00862-LY Document 197 Filed 07/30/21 Page 3 of 4




                         Status of Restoration Proceedings for Maverick

        There has been no change in this proceeding as the United Kingdom (“UK”) court has

abated that proceeding pending a ruling on the Receiver’s Motion for Clarification [Dkt. #184].

                              Settlement Discussions with ING Bank

        Due to the fact the Receiver entered into a confidentiality agreement with ING Bank, the

Receiver is not authorized to report further on this topic at the present time.

                         Criminal Trial of Emad Echade and Michel Geurkink

        The Receiver has recently learned the criminal trial of Emad Echade and Michael Geurkink

has been scheduled to occur this Fall with a decision expected to be handed down by the year’s

end. If they are convicted, there is another account at ING bank which contains approximately

USD 3 million. A portion of those funds could potentially be made available to the Receiver for

further distribution to the investors.

                                         CONCLUSION

        The next status report will be submitted to the Court on January 31, 2022. If significant

developments occur in the interim, the Receiver will file a report before that date.




                                                  3
      Case 1:12-cv-00862-LY Document 197 Filed 07/30/21 Page 4 of 4




                                           Respectfully submitted,

                                           GUY HOHMANN

                                           By: /s/ Guy Hohmann
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                                            RECEIVER FOR THE PROPHETMAX AND
                                            IB CAPITAL RECEIVERSHIP ESTATES




                                   CERTIFICATE OF SERVICE

        On July 31, 2021, I electronically submitted the foregoing document with the Clerk of
the Court of the U.S. District Court, Western District of Texas, using the electronic case
filing system of the court. I hereby certify that I have served all counsel and/or pro se parties
of record electronically or by another manner authorized by Federal Rule of Civil Procedure
5(b)(2).

                                           /s/ Guy Hohmann
                                           Guy Hohmann




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